                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

          Pastor E. Guerrero,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )                3:21-cv-00470-MR
                                      )
                  vs.                 )
                                      )
         Union County, et al,         )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 3, 2021 Order.

                                               December 3, 2021




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